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IN OPEN COURT

          

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KUS. DISTRICT COURT

       

IN THE UNITED STATES DISTRICT COURT :
FOR THE EASTERN DISTRICT OF VIRGINIA

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Ba, GE

 

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ALEXANDRIA DIVISION AL ANDRA RGIS —_——

UNITED STATES OF AMERICA CRIMINAL NO. 1:20-CR-270

Vv. COUNTS: 1; 34 37 4799 1S, 15

18 Us.S.C. $13, assimilating
VA Code §18.2-386.1

)
)
)
)
CHRISTIAN YANEZ, )
) (Unlawful Creation of the
)
)
)
)

Defendant. Image of Another)

COUNTS: 2,;4,;6;8,10,12, 14,16
16 UsS.C. §$L80L
(Video Voyeurism)

DECEMBER 2020 TERM - AT ALEXANDRIA
INDICTMENT
COUNT ONE

THE GRAND JURY CHARGES THAT:

On or about December 22, 2019, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within the Eastern District of Virginia, and within the
special maritime and territorial jurisdiction of the United
States, the defendant, Christian Yanez, did knowingly and
intentionally create a videographic and still image of M.B., a
nonconsenting person, by means of a cellphone, where M.B. was clad
in undergarments and in a state of undress so as to expose his
genitals, pubic area, and buttocks, and under circumstances
otherwise such that M.B. would have a reasonable expectation of
privacy.

(In violation of Title 18, United States Code, Section 13,
assimilating Section 18.2-386.1 of the Code of Virginia.)

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COUNT TWO
THE GRAND JURY FURTHER CHARGES THAT:

On or about December 22, 2019, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir, .
Virginia, within the Eastern District of Virginia, and within the
special maritime and territorial jurisdiction of the United
States, the defendant, Christian Yanez, did knowingly and
intentionally capture an image of a private area of M.B. by
videotaping, photographing, and recording M.B.'s naked and
undergarment clad genitals, pubic area, and buttocks, without _
M.B.’s consent,’ and knowingly did so under circumstances in which
M.B. had a reasonable: expectation of privacy, that is, under
circumstances in ‘which 2 reasonable person would believe that he
could disrobe in privacy, without being concerned: that an image of.
his private area was being captured.”

(En violation of Title 18, United States Code, Section 1801.)
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COUNT THREE
THE GRAND JURY FURTHER CHARGES THAT:

On or about January 3, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within the Eastern .District of Virginia, and within the -
special maritime and territorial jurisdiction of “the United
States, the defendant, Christian Yanez, did knowingly and ;
intentionally create a videographic and still image of John Doe
#1,an unidentified child under the age of 18, a nonconsenting
person, by means of a cellphone, where John Doe #1 was clad in
undergarments and. in a. state of undress so as to expose his
genitals, pubic area, and buttocks, ‘and under circumstances
otherwise such that John Doe #1 would have a reasonable expectation _
of privacy.

(In violation of Title 18, United States Code, Section 13,
assimilating Section 18.2-386.1 of. the Code of Virginia.)
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COUNT FOUR
THE GRAND JURY FURTHER CHARGES THAT:

On or about January 3, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within the Eastern District of Virginia, and within the

special maritime and territorial jurisdiction of the United .
States, the defendant, Christian Yanez, did knowingly and
intentionally capture an image of a private area of John Doe #1 by

_ videotaping, photographing, and tecording John Doe #1’s naked and
undergarment clad genitals, pubic area, and buttocks, without John
Doe #1’s consent, and knowingly did.so under circumstances in which
“John Doe #1 had a reasonable expectation of privacy, that is, inder

circumstances in which a reasonable person would believe that he:
could distobe in privacy, without’ being concerned that an imége of

. his private area was being captured,

“+ (In violation of Title 18, United States Code, Section 1801.)
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COUNT FIVE
THE GRAND JURY FURTHER CHARGES THAT:

On or about January 8, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within the Eastern District of Virginia, and within the
special maritime and territorial jurisdiction of the United
States, the defendant, Christian Yanez, did knowingly and
'intentionally create a videographic and still image of John Doe
#2, an unidentified child under the age of 18, a nonconsenting
person, by means of a cellphone, where John Doe #2 was clad in
| undergarments and in a state of undress so as to .expose his
genitals, pubic area,’ and buttocks, and under circumstances |
cotherwise such that John Doe #2 would have a reasonable expectation
of privacy. 7

(In violation of Title 18, United States Code, Section 13,
assimilating Section 18.2-386.1-of the Code of Virginia.)
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COUNT SIX
THE GRAND JURY FURTHER CHARGES THAT:

On or about January 8, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within the Eastern District of Virginia, and within the
special maritime and territorial jurisdiction of the United
States, the defendant, Christian Yanez, did knowingly and
intentionally capture an image of a private area of John Doe #2 by
videotaping, photographing, and recording John Doe #2’s naked and
undergarment clad genitals, pubic area, and buttocks, without John
Doe #2's consent, and knowingly did so under circumstances in which
John Doe had a reasonable expectation of privacy, that is,. under 7
cixéumstances in which a reasonablé person would believe that he
‘could disrobe in privacy, without being concerned that an image of
his-private area was being captured. 7

.(In violation of Title 18, United States Code, Séction 1801.)
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COUNT SEVEN
THE GRAND JURY FURTHER CHARGES THAT:

On or about January 17, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within the Eastern District of Virginia, and within the
special Maritime and territorial jurisdiction of the United
states, the defendant, ‘Christian Yanez, did knowingly "and
intentionally create a videographic and still image of R.R., a
nonconsent ing person, by means of a cellphone, where R.R. was clad
in undergarments and in a state of undress so as to expose his
genitals, pubic area, and ‘buttocks, and under circumstances
otherwise such that R.R.: would have a: reasonable expectation of
privacy.

(In viglation of Title 18, United States Code, Section.13,
assimilating Section 18.2-386.1 of the,Code of Virginia.)
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COUNT EIGHT
THE GRAND JURY FURTHER CHARGES THAT:

On or about January 17, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
. Virginia, within the Eastern District of Virginia, and within .the
special | maritime and territorial jurisdiction of the United
states, the defendant, Christian Yanez, did- knowingly and
intentionally capture an image of a private area of R.R. by
videotaping, photographing, and recording R.R.’s naked and
undergarment clad: genitals, pubic area, and buttocks, without
“R.R."S consent, and knowingly: did.so under circumstances in which
R.R. had a reasonable expectation: of privacy, that is, under -
circumstances in which a reasonable person would believe that he .
could disrobe in privacy, without being concerned that dn image of
~ his private area was being captured. : |
(In violation of Title 18, United States Code, Section 1801.)
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COUNT NINE
THE GRAND JURY FURTHER CHARGES THAT:

On or about February 5, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within the Bastern District of Virginia, and within the
special maritime and territorial jurisdiction of the United
States, the defendant, Christian Yanez, - did knowingly and
intentionally create a videographic and still. image of I.B., a
nonconsentiing person, by means of a cellphone, where I.B. was clad.
in’ undergarments and in a state of undress: so as to expose his
genitals, _ pubic area, and buttocks, and. under circumstances
otherwise such that 1B. would: have A reasonable expectation of
| privacy. -

(In violation’ of Title 18, United States Code, Section 13,
assimilating Section 18.2-386:1 of the Code of Virginia.)
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COUNT _TEN
. THE GRAND JURY FURTHER CHARGES THAT:

On or about January 5, 2020, in the men’s restroom located
within the ‘Food Court area of the Post Exchange on Fort Belvoir,
virginia, within the Eastern District of Virginia, and within the
special | maritime and territorial jurisdiction of the United
States, the defendant, Christian Yanez, did "knowingly and
intentionally capture an image of a private area of .I.B. by
videotaping, ‘photographing, and recording. I.B.’s naked and
undergarment clad genitals, pubic area, and buttocks, without
I.B.’s consent, and knowingly did so under circumstances in which
r.B. had a. reasonable expectation of privacy, that is, under
circumstances in. which a reasonable person would believe that he
could disrobe in privacy, without being concerned that an image of
his private area ‘was being captured.

(In violation of Title 18, United States Code, Section 1801.)

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COUNT. ELEVEN
THE GRAND JURY FURTHER CHARGES THAT:

On or about January 19, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within the Eastern District of Virginia, and within the
‘special maritime and territorial jurisdiction of the United
States, the defendant, Christian Yanez, did knowingly and
intentionally create a videographic and still image of A.A., a
nonconsent ing person, by means of a cellphone, where A.A. was clad
in undergarments and in a state of undress so as to: expose his
genitals, pubic area, and buttocks, and “under -circumstarices
otherivise such that. A.A: would have a reasonable expectation of
privacy.

(In violation of Title 18, United States Code, Section 13,
_assimilating Section 18.2-386.1 of the. Code of Virginia. )

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COUNT TWELVE
THE GRAND JURY FURTHER CHARGES THAT:

“on or about January 19, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within the Eastern District of Virginia, and within the
special maritime and territorial jurisdiction of the United
States, the defendant, Christian Yanez, did. knowingly and
intentionaiy capture an image of a private area of A.A. by
videotaping, photographing, and recording A.A.’s naked and
undergarment clad genitals, pubic area, and buttocks, without
A.A.’s consent, and: knowingly did so under circumstances in which
ALA. had a “reasonable ‘expectation of “privacy, that is, under
circuristances ‘in which ‘A reasonable person would ‘believe that he
could disrobe in privacy, without being concerned that. an image of
his private area was being captured. oo,

(In violation of Title 18, United States Code, Section 1801.)

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COUNT THIRTEEN
THE GRAND JURY FURTHER CHARGES THAT:

On or about January 22, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within, the Eastern District of Virginia, and within the
special maritime and territorial jurisdiction of the United
States, . the defendant, Christian Yanez, did knowingly and
intentionally create ia videographic and still image of J:L., a
nonconsenting person, by means of a cellphone, where J.L. was clad
an undergarments and in a state of undréss so as to. expose his
genitals, ‘pubic. area, and buttocks, and under ‘circumstances
otherwise such that J.L. would have a reasonable expectation of
privacy. | )

(In violation of Title 18, United States code, Section 13," |
assimilating Section 18.2-386.1 of the Code of Virginia.) =

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COUNT FOURTEEN
THE GRAND JURY FURTHER CHARGES THAT:

On or about January 22, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, within thie Eastern District of Virginia, and within the
special maritime “and. territorial jurisdiction of the United
States, the defendant, Christian Yanez, did knowingly and
intentionally capture an image of a. private area. of J.L. by
videotaping, photographing, and — recording J.L.'s naked © and
undergarment clad genitals, pubic area, and buttocks, without
J.L.’8 consent, and knowingly did so under circumstances in which ©

Ib. had: a reasonable expectation of privacy, «that is, under |
"circumstances in which a veasonable person would .believe that! he
~ could disrobe in privacy, without being concerned that an image. of
“his private. area was being captured. | |

“(In violation of Title 18, United States Code, Section 1801.) ~

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COUNT PIRTEEN |
THE GRAND JURY FURTHER CHARGES THAT:

On’ or about February 5, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir, -
Virginia, within the Eastern District of Virginia, and within the
‘special maritime and territorial surisdiction of the United
States, the defendant, Christian Yanez, did ‘knowingly and
‘intentionally create a videographic and -still image of R.P., a
nonconsenting person, by means of a cellphone, where RP. was clad
in -undergarments and in a state of undress so as to expose his
genitals, pubic area, and buttocks, and under circumstances
otherwise such that’ R.P. would have a reasonable expectation of :
privacy. |

(In. violation of Title 18, United States Code, Section 13,
assimilating Section 18.2-386.1 of the Code of Virginia.)

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By:

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COUNT SIXTEEN
THE GRAND JURY FURTHER CHARGES THAT:

On or about February 5, 2020, in the men’s restroom located
within the Food Court area of the Post Exchange on Fort Belvoir,
Virginia, wienin the Eastern District of Gixginta, and within the
special nacdbine and eevitortal jurisdicrion. of the United

States, the defendant, Christian Yanez, did knowingly cand

“intentionally capture an image of a private area of R.P. by

videotaping, “photographing, and recording R.P.’s nbked and
undergarment clad genitals, pubic area, ‘and buttocks, without
R.P.’s consent, and ees did so ander circumstances in which
Ress had a reasonable expectation of privacy, that. is, mdat
circumstances iat ei ehta, pebsonebie person would believe that he
could disrobe in privacy, without being concerned that an image of
his suhrate aawd wet béing captured.

(In violation of Title 18, United States code, Section 1801.

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FOREPERSON

 

G. ZACHARY TERWILLIGER
UNITED.STATES ATTORNEY

vw Lied tate Be LT he
Patricia Haynes 7
Assistant Unitéd States Attorney
Sean Rowland

Special Assistant United States Attorney

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